       Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 1 of 19




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS



IN RE: NEW ENGLAND COMPOUNDING                   )
       PHARMACY, INC. PRODUCTS                   )
       LIABILITY LITIGATION                      )   MDL No. 1:13-md-2419-FDS
This Document Relates to:                        )
                                                 )   Judge Rya W. Zobel
        All Cases                                )
                                                 )
                                                 )

DEFENDANT AMERIDOSE LLC’S MEMORANDUM IN SUPPORT OF ITS MOTION
FOR PROTECTIVE ORDER AND MOTION TO QUASH THE DEPOSITION NOTICE
                      TO AMERIDOSE LLC


        Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, Ameridose LLC moves

for entry of an Order quashing the deposition notice served on Ameridose LLC and forbidding

The Saint Thomas Entities (“STEs”) from taking the deposition of Ameridose LLC.

I.      INTRODUCTION

        Federal Rule of Civil Procedure 30(b)(6) permits a party to issue a Notice of Deposition

to an organization requesting that it produce a person able to testify about specific topics. Under

Rule 30(b)(6), the organization must then “designate one or more officers, directors, or managing

agents, or designate other persons . . . .” to testify regarding the requested topics. In their

30(b)(6) Notice, the STEs seek testimony from Ameridose’s designated corporate witness(es)

regarding 16 topics, focusing primarily on Ameridose’s purported relationships with the New

England Compounding Pharmacy, Inc. (“NECC”) and other companies, as well as NECC’s own

clean room, compounding, and marketing practices.         See Notice to Ameridose of 30(b)(6)

Deposition, NECC MDL Doc. 1809.



2320737.2
       Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 2 of 19




        The STEs’ request to depose Ameridose regarding these topics should be denied for

several reasons. First, Ameridose’s owners and managers are involved in parallel criminal

proceedings based on the same events at issue here. As a result, each of them intends to invoke

their Fifth Amendment rights against self-incrimination and will refuse to testify or be subject to

an examination under Rule 30(b)(6). Second, none of the people who might be designated under

Rule 30(b)(6) will consent to testify on Ameridose’s behalf. Third, none of the information

sought in the STEs’ 30(b)(6) Notice is relevant to any claim asserted against or defense raised by

the STEs. As the STEs are fully aware – based on pleadings and motions filed in this litigation

as well as Ameridose’s discovery responses – at no time did Ameridose manufacture, compound,

dispense, test, sell, or distribute MPA. Ameridose could not be liable in tort to Plaintiffs and

taking discovery against it cannot be pertinent to the STEs’ comparative fault defenses. Nor did

the STEs actually buy and inject MPA from NECC. Therefore, the information sought is beyond

the scope of the limited exception to the discovery stay still in effect in this litigation. See

October 9, 2014 Order, NECC MDL Doc. 1482.                Finally, the cost and burden of taking

discovery from Ameridose far outweighs its utility.

        This Court should therefore issue an order quashing the STEs’ 30(b)(6) Notice as to

Ameridose and enter a Protective Order protecting Ameridose from having to designate and

present any Rule 30(b)(6) representatives for deposition.




                                                      2
2320737.2
       Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 3 of 19




II.     ARGUMENT

        A. Ameridose’s Owners, Managers, and Agents Intend to Invoke Their Fifth
           Amendment Rights Against Self-Incrimination and Therefore Cannot Be
           Compelled to Testify on Ameridose’s Behalf.

        At all times relevant to these proceedings, Ameridose LLC had seven owners, managers,

and/or agents who could theoretically qualify as 30(b)(6) witnesses. Based upon a reasonable

investigation it is apparent that they intend to invoke their Fifth Amendment privilege against

self-incrimination, refusing to answer any questions at deposition. See, e.g., Affidavit of M.P.

Moriarty at ¶¶ 3-5, attached as Exhibit A; see also Invoking Defendants’ Motion to Quash and

Motion for Protective Order, NECC MDL Doc. 1823.1 In fact, some of these individuals have

already responded to the STEs’ requests for admission, interrogatories, and requests for

production by invoking their Fifth Amendment privilege, and have filed their own motions for

protective order in response to deposition notices issued to them individually.

        This Court cannot compel these same individuals to appear as 30(b)(6) witnesses if they

intend to assert their Fifth Amendment privilege. See, e.g., City of Chicago v. Reliable Truck

Parts Co., Inc., 768 F. Supp. 642, 646-47 (N.D. Ill. 1991) (“This court cannot compel individuals

to testify in their corporate capacity if they otherwise have an individual privilege that can

properly be invoked.”); City of Chicago, III v. Wolf, No. 91 C 8161, 1993 WL 177020, *1 (N.D.

Ill. May 21, 1993); see also Invoking Defendants’ Motion to Quash and Motion for Protective

Order, NECC MDL Doc. 1823. It is undisputed that these individuals have the right to invoke

their Fifth Amendment rights against self-incrimination and not be subject to sanctions or

contempt for failing to appear to testify on Ameridose’s behalf in response to the STEs’ 30(b)(6)

1 Ameridose filed a Joinder to the Invoking Defendants’ Motion to Quash on May 5, 2015 (NECC MDL Doc.
1824).



                                                         3
2320737.2
       Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 4 of 19




Notice. See Martinez v. Majestic Farms, Inc., No. 05-60833-CIV, 2008 WL 239164, *3 (M.D.

Fla. Jan. 12, 2010).

        Importantly, the STEs cannot use the individuals’ invocation of their Fifth Amendment

privilege to create an inference that contradicts a known fact: that Ameridose did not

manufacture, compound, dispense, test, sell, or distribute MPA.         Because any potentially

qualified 30(b)(6) witness will undoubtedly assert their Fifth Amendment privilege, this Court

should not compel them to testify at deposition.

        B. There Are No Other Persons Who Will Consent To Testify On Ameridose’s
           Behalf.

        Rule 30(b)(6) expressly states that the organization named in the deposition notice must

designate – if not officers, directors or managing agents – “other persons who consent to testify”

on the corporate entity’s behalf. Fed. R. Civ. P. 30(b)(6) (emphasis added). Not only will the

owners of Ameridose refuse to accept the designation of a 30(b)(6) witness, there is no “other

person” presently associated with Ameridose who has sufficient knowledge of the requested

deposition topics and who will consent to testify. (See Affidavit of M.P. Moriarty at ¶¶ 3-5.)

Further, Ameridose has no control over former employees or agents who may be designated as

“other persons,” these persons will not provide consent to be deposed, and therefore Ameridose

is not required to designate them under Rule 30(b)(6). See, e.g., S.E.C. v. Banc de Binary, No.

2:13-cv-993, 2014 WL 1030862, n.10 (D. Nev. March 14, 2014) (“Because Mr. Katz is no

longer associated with Banc de Binary . . . he is no longer subject to being deposed under Rule

30(b)(6) unless he consents.”) (emphasis added). Nor can Ameridose be compelled to retain

and produce a person not previously associated with the company simply so that person can

respond to the STEs’ 30(b)(6) Notice.       It does not have documents available to provide



                                                    4
2320737.2
       Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 5 of 19




information on the topics listed in the STEs’ 30(b)(6) Notice, such that an unaffiliated person

could “testify about information known or reasonably available to the organization.” Fed. R.

Civ. P. 30(b)(6). Because of the nature of these proceedings, the settlement agreement reached

by the Affiliated Defendants, and the discovery stay in effect for much of this litigation,

Ameridose has not processed the majority of the company’s documents for production. The cost

associated with processing and storing these documents is extraordinary and the burden on

Ameridose of extensive document discovery and witness preparation is excessive and

unwarranted. (See Affidavit of M.P. Moriarty at ¶¶ 3-9 and; see also Section II.E., infra.)

        In addition, Ameridose should not be compelled to retain an unaffiliated person for

deposition because it cannot provide that person with information without breaking the owners’

and managers’ privilege, and it does not have the documents to educate someone. The only two

people still associated with Ameridose who have knowledge and information regarding the

topics in the 30(b)(6) Notice are the owners and managers who intend to invoke their Fifth

Amendment privilege. These individuals are not required to provide information to a newly

designated deponent. Wolf, 1993 WL 177020 at *2. Importantly, “this court cannot compel the

individual defendants who choose to remain silent to respond to inquiries by the 30(b)(6)

deponent.” Reliable Truck Parts Co., Inc., 768 F. Supp. at 646. “To hold otherwise would

require the persons with a Fifth Amendment privilege to provide testimony to the designated

deponent.” Wolf, 1993 WL 1777020 at *2. Since there are no “other persons” who will consent

to testify on the subjects identified in the STEs’ 30(b)(6) Notice, this Court should quash the

deposition notice served on Ameridose.




                                                    5
2320737.2
       Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 6 of 19




        C. This Court Should Prohibit Any Ameridose Company Witness Depositions
           Because They Are Beyond the Scope of Rule 26 and the Limited Exception to the
           Discovery Stay.

        Pursuant to the Court’s most recent order on discovery, the STEs or other parties are

permitted to conduct discovery of Ameridose “only to the extent the discovery is relevant to the

prosecution, or defense, of claims against defendants [e.g., the STEs] other than the Estate

Parties or the Insider Settling Parties.” See NECC MDL Doc. 1482. Although the exception to

the stay is narrow, the discovery the STEs seek in their 30(b)(6) Notice does not fall within that

exception because the discovery cannot support the STEs’ claims or defenses.

        Under Tennessee law, the STEs have the right to point to an empty chair at trial and

claim comparative fault. Here, however, the STEs cannot establish liability (no duty owed and

no causation) against Ameridose because Ameridose did not manufacture, compound, dispense,

sell, test, or distribute the alleged injurious product. See Strayhorn v. Wyeth Pharm., Inc., 737

F.3d 378, 405 (6th Cir. 2013); NECC MDL Doc. 1482 (Oct. 9, 2014). The pleadings and

discovery already on file in this litigation show that NECC was the sole entity responsible for

compounding and dispensing MPA. Nor did Ameridose operate and/or maintain NECC’s clean

rooms at the time NECC compounded and dispensed the MPA.                Under Tennessee law, a

defendant in a negligence claim can only be liable for the portion of damages caused by its own

negligence. McIntyre v. Balentine, 833 S.W.2d 52, 58 (Tenn. 1992). Because Ameridose cannot

be held liable under Tennessee law, the STEs have no valid claim for comparative fault and

should not be permitted to proceed with its 30(b)(6) Notice as to Ameridose.




                                                    6
2320737.2
       Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 7 of 19




               1. Ameridose was neither the compounder nor dispenser of the MPA at issue
                  in this litigation and therefore cannot be held liable under Tennessee
                  product liability law.

        Under the Tennessee Product Liability Act of 1978 (“the Act”), a “manufacturer” or

“seller” can be liable for personal or property damage caused by a product if any only if the

“product is determined to be in a defective condition or unreasonably dangerous at the time it left

the control of the manufacturer or seller.” T.C.A. § 29-28-105(a).             Under the Act, a

“manufacturer” is the “designer, fabricator, producer, compounder, processor or assembler of

any product or its component parts.” T.C.A. § 29-28-103(4). A “seller” is “any individual or

entity engaged in the business of selling a product.” T.C.A. § 29-28-102(7). A seller, however,

cannot be held liable unless it exercised substantial control over the part of the product that

caused the alleged harm, altered or modified the product and that modification or alteration was a

“substantial factor” in the alleged harm, or the manufacturer is not subject to service of process

in Tennessee. T.C.A. § 29-28-106.

        None of the Act’s provisions apply to Ameridose in this litigation. The pleadings on file

and facts in evidence in this litigation confirm that Ameridose is not the manufacturer,

compounder, dispenser or seller of the MPA at issue:

            • “Ameridose did not compound MPA. Products distributed by Ameridose did not
              contribute to the [meningitis] outbreak.” Declaration of Chapter 11 Trustee in
              Support of Confirmation of Second Amended Joint Chapter 11 Plan of NECC,
              NECC MDL Doc. 1858, p. 16.

            • The list of Recalled Products posted on the U.S. Food and Drug Administration’s
              website at the time Ameridose voluntarily recalled its entire product inventory in
              October 2012 clearly does not include “methylprednisolone acetate” in its
              inventory. See http://www.fda.gov/Safety/Recalls/ucm326349.htm, Press Release
              Announcing Ameridose Recall, and
              http://www.fda.gov/drugs/drugsafety/fungalmeningitis/ucm326384.htm, listing of
              all products recalled by Ameridose.



                                                    7
2320737.2
       Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 8 of 19




            • In this Court’s May 15, 2014 Order on the Trustee’s Renewed Motion to Transfer,
              this Court succinctly stated that “[t]his case involves claims for wrongful death
              and personal injury arising out of the administration of an injectable steroid,
              methylprednisolone acetate (“MPA”), manufactured by defendant New England
              Compounding Pharmacy, Inc. (“NECC”).” NECC MDL Doc. 1131, pp. 1-2.

            • In Ameridose’s responses to the STE’s Interrogatories, Requests for Admission,
              and Requests for Production, Ameridose repeatedly stated it did not manufacture,
              compound, dispense, test, or distribute the MPA at issue in this litigation. See
              Notice of Service of Discovery Responses, Apr. 14, 2015, NECC MDL Doc.
              1774.

            • In the STEs’ own Memorandum in Support of their Motion for Continuance of
              Common Issue Fact Discovery, the entities state that NECC compounded the
              MPA at issue in this litigation. See NECC MDL Doc. 1850, p. 1. Though the
              STEs take over three pages to list the names of individuals and entities from
              whom it needs discovery, this pivotal statement appears on the first page of its
              Memorandum.

            • The published medical literature about the outbreak discusses the origins of the
              MPA. Ameridose is not part of the discussion. See, e.g., Rachel Smith, et.al.,
              Fungal Infections Associated with Contaminated Methylprednisolone Injections,
              NEJM, 369; 17, pgs. 1598-1609 (2013), attached as Exhibit F to NECC MDL
              Doc. 1090. To date, our research discloses at least thirteen other scientific articles
              about the fungal meningitis outbreak. They frequently refer to the MPA coming
              from “a single compounding pharmacy.” None of the articles even mention
              Ameridose.

            • In an October 2012 New York Times article, it was noted that: “the FDA even
              acknowledged its [own] actions as to Ameridose during the post-recall
              investigations were different than those as to NECC.” The article quoted the
              Director of the FDA’s Center for Drug Evaluation and Research as saying that
              “the Agency is not asking health care providers to track down patients who were
              given Ameridose products . . . because there have been no reports of problems.”
              See Erkan Doc. No. 8, Ex. 1 at att. #18, N.Y. Times Oct. 31, 2012.

            • Ameridose has represented to this Court, and it holds true today, that there are no
              pending cases alleging harm from an Ameridose product. See, e.g. NECC MDL
              Docket No. 1090.

Since Ameridose did not manufacture, compound, dispense or distribute MPA, it cannot be held

liable under Tennessee law. Therefore, there is no reason that this Court should allow the STEs




                                                     8
2320737.2
       Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 9 of 19




to conduct extensive discovery of Ameridose that so clearly falls outside the limited exception to

the discovery stay.

                 2. The STEs never even injected MPA into any patients.

        Although at least one individual Saint Thomas Entity (St. Thomas Hospital) was a

customer of Ameridose, none of the entities ever purchased or injected into any of their own

patients the MPA at issue in this MDL. See The STEs’ Memo. in Support of their Mot. to

Dismiss, NECC MDL Doc. 894, at 3; The STEs’ Memo. in Support of Mot. for Continuance of

Common Fact Discovery, NECC MDL Doc. 1850, at 1. Plaintiffs’ assertion of liability against

the STEs stems only from their alleged relationship with the Tennessee Clinic Defendants,

entities that actually did procure and inject tainted MPA. See NECC MDL Doc. 894, at 4. Not

only did the STEs neither buy nor inject MPA, the STEs also claim they have no ownership

interest in STOPNC and never employed any of the STOPNC defendants accused of

wrongdoing. Id. So why is it that the STEs – entities that never purchased or injected any of the

tainted MPA – require extensive, excessively burdensome fact discovery from Ameridose, an

entity the STEs acknowledge never compounded or sold the tainted MPA, the only drug at issue

in this litigation? If the STEs never purchased or injected MPA, then their employees could not

have relied on any Ameridose or NECC marketing materials, trade booth presentations,

regulatory representations, etc., pertinent to the issues in this case. Any discovery obtained from

Ameridose will not assist the STEs in defending against claims asserted by the Tennessee

Plaintiffs and should therefore be precluded.2



2 To the extent the Tennessee Clinic Defendants (“TCDs”) want to piggyback on the STEs’ subpoenas, it makes just
as little sense to allow discovery to proceed against Ameridose because the TCDs were not even Ameridose
customers.



                                                           9
2320737.2
       Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 10 of 19




                 3. Ameridose did not operate or maintain NECC’s clean rooms at the time
                    NECC compounded and dispensed MPA and therefore cannot be held
                    liable.

        The STEs may suggest liability against Ameridose arising out of clean room design or

maintenance. When Ameridose conducted its business operations out of the Framingham, MA

facility (2006 – early 2009), it contracted to build, and then operated and contracted to maintain

its own clean rooms in its portion of that facility.                Ameridose moved its entire business

operations to a larger facility in Westborough, MA in early 2009, more than three years before

NECC compounded and dispensed the MPA at issue in this litigation.3 Although Ameridose

may have initially contracted with Liberty Industries to design the clean rooms it used in

Framingham, it did so to facilitate the manufacture of its own products, not NECC’s.

Furthermore, NECC was entitled to and may have changed the design of these clean rooms after

Ameridose left.        What NECC did with those clean rooms after Ameridose moved to

Westborough can be discovered from NECC documents or those of the contractors NECC hired

to maintain those areas during the three years after Ameridose moved and before NECC

compounded and dispensed the MPA at issue.

                 4. The STEs cannot establish that Ameridose’s conduct was the cause of the
                    MPA contamination, meningitis outbreak, or resulting injuries.

        An “essential element of any products liability action in Tennessee is that the defect in

question proximately caused the plaintiff’s injury.” T.C.A. § 29-28-105(a); see also Pride v. Bic

Corp., 54 F. Supp. 2d 757, 764 (E.D. Tenn. 1998) aff’d, 218 F.3d 566 (6th Cir. 2000). This




3 This information is contained in Ameridose’s responses to the STEs’ written discovery. See Notice of Service of
Discovery Responses, Apr. 14, 2015, NECC MDL Doc. 1774.



                                                            10
2320737.2
      Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 11 of 19




includes proof of “both proximate cause and cause in fact.” Nye v. Bayer Cropscience, Inc., 347

S.W.3d 686, 704 (Tenn. 2011).

        Regarding the one product at issue in this litigation – the MPA compounded and

dispensed only by NECC – Ameridose did not owe a duty to any of the plaintiffs in this

litigation. Under Tennessee product liability law, Ameridose is neither at fault nor liable.

T.C.A. § 29-28-106(b). It cannot be either the cause in fact or proximate cause of the Tennessee

Plaintiffs’ damages, or, this, the STEs, or the Tennessee Clinic Defendants’ need for comparative

fault. “‘Cause in fact’” refers to the cause and effect relationship between the defendant’s

tortious conduct and the plaintiff’s injury and loss.” Id. at 705. “Thus, cause in fact deals with

the ‘but for’ consequences of an act – i.e., a defendant’s conduct is a cause of the event if the

event would not have occurred but for that conduct.” Id. In contrast, proximate cause, or legal

cause, concerns a determination of whether legal liability should be imposed where cause in fact

has been established. Id. at 705 (quoting Snyder v. LTG Lucttechnische GmbH, 955 S.W.2d 252,

256 n.6 (Tenn. 1997)).

        Under Tennessee law, only a defendant that manufactured a product can be liable for

injuries caused by that product – which entirely precludes Ameridose’s liability as to Tennessee

plaintiffs and the STEs in this litigation. See Nye, 347 S.W.2d at 705. Ameridose cannot be

actively liable to any Tennessee Plaintiff in this litigation. Further – having never compounded,

tested, or distributed the MPA at issue here – it also took no action that can be determined to be

the proximate cause of any harm to any Tennessee Plaintiff.

               5. There is no basis for the reduction of a verdict based on strict liability
                  claims against Ameridose.

        The STEs’ discovery goals from Ameridose will not lead to a reduction of any verdict



                                                   11
2320737.2
       Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 12 of 19




against the STEs based on strict liability. They are, thus, outside the scope of the exception to

the stay.

        First, Ameridose can only be held liable under the Tennessee Products Liability Act for

its own wrongdoing, and here there is none. To date, the STEs have not made any claim that

Ameridose can be held responsible for NECC’s actions under any theory including alter ego.4

Although Ameridose and NECC are not in a parent-subsidiary relationship (they are sister

corporations), the law about that subject is useful here. The actions of a parent may only be

attributable to a subsidiary in two instances: “(1) when one corporation is acting as an agent for

the other or (2) when the corporations are essentially alter egos of each other.” Wells ex rel.

Baker v. State, 435 S.W.3d 734, 756 (Tenn. Ct. App. 2013). The same principles apply to

liability between two subsidiaries of the same parent corporation. See In re U-Haul Intern., Inc.,

87 S.W.3d 653, 656-57 (Tex. 2002) (acknowledging that sibling-companies are separate and

distinct, even if they have the same officers). And some courts have held that there can be no

alter ego liability for sister corporations. Minno v. Pro-Fab, Inc., 905 N.E.2d 613, 617 (Ohio

2009) (“Despite the element of common shareholder identity, sister corporations are separate

corporations and are unable to exercise control over each other in the manner that a controlling

shareholder can. This lack of ability of one corporation to control the conduct of its sister

corporation precludes application of the piercing-the-corporate-veil doctrine.”).

        Second, if the STEs’ theory against Ameridose is strict liability in tort or only a

derivative theory based on NECC’s conduct, Ameridose will be considered to be a “single-share”


4 According to the STEs’ own Motion to Dismiss filed in this Court, mere factual allegations, “even if proven,
would not suffice under Tennessee law to pierce the corporate veil.” NECC MDL Doc. 894, p. 13. As the STEs have
already argued in another context, “[m]ere ownership . . . is not enough to pierce the corporate veil; [n]or is the
common name and proximity of facilities.” NECC MDL Doc. 894.



                                                            12
2320737.2
       Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 13 of 19




with NECC, the primary defendant, for purposes of the comparative fault calculation –

precluding a reduction in any verdict against the STEs because of Ameridose’s stand-alone

conduct. Owens v. Truckstops of America, 915 S.W.2d 420, 433 (Tenn. 1996). The fault of all

the defendants “is measured by the injury caused by the defective or unreasonably dangerous

product.” Id. Under Tennessee law, any verdict against Ameridose will not reduce a verdict

against the STEs for the same injuries as caused by NECC’s conduct.

        Since Ameridose did not manufacture, test, compound, dispense, or sell the MPA at

issue, it would be legally impossible to find Ameridose at fault and NECC not at fault. Based

upon the foregoing, even putting Ameridose on a verdict form would be meaningless and likely

impermissible in a Tennessee trial. Any discovery obtained from Ameridose is irrelevant to the

prosecution, or defense, of claims against the STEs and should not be permitted.

        D. The Discovery Sought By The STEs In Their 30(B)(6) Notice Is Not Reasonably
           Calculated To Lead To Admissible Evidence.

        It is axiomatic that discovery must be relevant and reasonably calculated to lead to the

discovery of admissible evidence. See Fed. R. Civ. P. 26(b)(1). Here, that means evidence must

be relevant and reasonably calculated to lead to admissible evidence in a claim that Ameridose,

or conceivably NECC, is at fault, so as to reduce the STEs’ share of liability. An examination of

the STEs’ 30(b)(6) Notice demonstrates that the requested documents are beyond the scope of

discovery in this litigation as they cannot be used to prove either Ameridose’s or NECC’s

liability.

        The STEs request a deponent who can testify about “Ameridose’s regulatory history,

including without limitation the information contained in the Congressional Report ‘FDA’s

Oversight of NECC and Ameridose: A History Of Missed Opportunities?’” (STEs’ 30(b)(6)



                                                   13
2320737.2
      Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 14 of 19




Notice, Subject 5). If Ameridose did not manufacture, compound, test, dispense, or distribute the

MPA at issue in this litigation, then what is the purpose of their request? It must somehow relate

to NECC and NECC’s liability.

        Assume hypothetically that Ameridose’s products were at issue in this MDL. Even if the

STEs discover evidence that Ameridose’s products were noncompliant with FDA regulations,

that evidence is not relevant to the issue of whether Ameridose’s products are defective under

state tort law. King v. Danek Med., Inc., 37 S.W.3d 429, 442 (Tenn. Ct. App. 2000); United

States v. 789 Cases, More or Less, of Latex Surgeons’ Gloves, 799 F. Supp. 1275, 1285 (D.P.R.

1992); Howard v. Sulzer Orthopedics, Inc., No. 02-CV-0564, 2011 WL 2472594, *6 (N.D. Okla.

June 21, 2011) (“Based on the lack of a private cause of action in the FDCA, ‘many courts have

held plaintiffs cannot seek to enforce it through negligence per se tort actions.’”) (citing Bartlett

v. Mut. Pharm. Co., Inc., 731 F. Supp. 2d 135, 154 (D.N.H. 2010)); Krueger v. Johnson &

Johnson Prof’l, Inc., No. 4:00-cv-10032, 2002 WL 34371190, *5 (S.D. Iowa Sept. 10, 2002)

(“[T]estimony [of failure to comply with FDA regulations] does not prove that the . . . device

implanted in [plaintiff] was defective, or that it was a proximate cause of his injuries.”). Because

noncompliance with regulations cannot be used to establish that a product is defective, even the

product of the target defendant, the STEs’ attempt to obtain this information from Ameridose is

improper and should be rejected.

        If the regulatory evidence sought by the STEs cannot be used to establish a claim against

Ameridose, any attempt to find and use that evidence against NECC is even more attenuated. In

other words, even if Ameridose had regulatory problems, they are irrelevant to NECC’s liability.

This is especially important here where Ameridose did not manufacture, compound, dispense,




                                                     14
2320737.2
         Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 15 of 19




test, sell, or distribute the product at issue. See Verzwyvelt v. St. Paul Fire & Marine Insur., 175

F. Supp. 2d 881, 888 (E.D. La. 2001) (holding that evidence of recall involving entirely different

product, manufactured at an entirely different manufacturing facility, in different location was

not relevant because it would unfairly prejudice defendant, confuse the issue, and mislead the

jury).

          The exact same analysis applies, for example, to other requests in the STEs’ 30(b)(6)

Notice, such as:

              • Ameridose’s organizational structure and identification of its owners, executives,

                  employees, managers, and other representatives (STEs’ 30(b)(6) Notice, Subject

                  Nos. 2-3);

              • Ameridose’s policies and procedures (STEs’ 30(b)(6) Notice, Subject No. 4);

              • Customer communications (STEs’ 30(b)(6) Notice, Subject No. 6);

              • Communications with NECC and other affiliated companies (STEs’ 30(b)(6)

                  Notice, Subject No. 8); and

              • General information regarding NECC and its business operations (STEs’ 30(b)(6)

                  Notice, Subject Nos. 9, 10, 13, 15).

            To meet Rule 26’s relevance requirement, these topics must be offered to show either

Ameridose’s or NECC’s liability.          They are not. Quite obviously, information regarding

Ameridose’s corporate structure and policies and procedures are not relevant to prove

Ameridose’s liability and cannot be used to prove fault against NECC. Similarly, information

regarding Ameridose’s communications with its customers, NECC, or any of the other

purportedly affiliated companies is not relevant because the STEs never purchased MPA or




                                                         15
2320737.2
      Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 16 of 19




injected MPA into any of their patients and because the TCDs were not even customers of

Ameridose. And since the STEs never purchased MPA or injected MPA into any of their

patients, any information from Ameridose regarding NECC and its business operations is also

not relevant. Furthermore, the Tennessee Defendants could not have relied on Ameridose for

information about MPA or NECC’s clean rooms. (See STEs’ 30(b)(6) Notice, Subject Nos. 7,

11, 12). Even if they did, they would remain one “single share” on a verdict form.

        Simply put, the STEs’ attempt to obtain documents from Ameridose is nothing more than

a burdensome and expensive fishing expedition that will neither lead to relevant nor admissible

evidence. That puts the requested discovery outside the scope of the Federal Rules, and much

further outside the scope of the limited exception to the stay on discovery. Therefore, the

discovery should not be permitted.

        E. The Cost Of Discovery Against Ameridose Would Be Significant And Unduly
           Burdensome.

        Rule 26 (c)(1) permits a court to issue an order to protect a party against whom discovery

is sought from undue burden or expense, including forbidding the discovery. Rule 26(b)(2)(C)

specifically requires a court to:

               Limit the frequency or extent of discovery . . . if it determines that
               . . . the burden or expense of the proposed discovery outweighs its
               likely benefit, considering the needs of the case, the amount in
               controversy, the parties’ resources, the importance of the issues at
               stake in the action, and the importance of the discovery in
               resolving the issues.
        Consistent with this Rule, courts have routinely granted orders protecting parties from

undue burden and expense and have even shifted costs to the requesting party when the burden

and expense is significant, as in the case here. See, e.g., Oppenheimer Fund v. Sanders, 437 U.S.

340, 358 (1978) (noting that Rule 26(c) permits courts to grant orders protecting parties from



                                                    16
2320737.2
       Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 17 of 19




“undue burden and expense”); Zubulake v. UBS Warburg, LLC, 217 F.R.D., 309, 322 (S.D.N.Y.

2003) (outlining factors courts should consider when balancing the cost and burden of discovery

under Rule 26(c)); Rowe v. Entertainment, Inc. v. The Williams Morris Agency, Inc., 205 F.R.D.

421, 429 (S.D.N.Y. 2002) (ordering cost-shifting in e-discovery dispute). Without the protection

of Rule 26(c), parties will always, if left to their own devices, endlessly fish for information, no

matter how costly and no matter how unlikely the fishing is to yield results actually helpful to the

administration of justice.

        Here, the affidavit of Matthew Moriarty makes clear why each of the above factors

heavily weighs in favor of Ameridose. First, the affidavit sets forth the costs of just certain

document production issues. (See Affidavit of M.P. Moriarty at ¶ 9). The parties, having settled

and soon to receive releases and dismissals, should not be required to utilize unnecessary

resources and expend over $1,000,000 to engage in document discovery. This is particularly true

in a case in which the discovery target is not liable in products liability or a derivative theory.

Second, and as previously discussed, any discovery sought from Ameridose has no benefit or

importance in resolving issues presented in this litigation. That is because Ameridose did not

manufacture, compound, dispense, test, sell, or distribute the MPA at issue in this litigation.

Because the burden and expense of the STEs proposed discovery significantly outweighs its

benefit, this Court should issue an Order forbidding the STEs’ discovery against Ameridose.

III.    CONCLUSION

        The STEs have before them an entity that undoubtedly compounded MPA - NECC. The

legal and scientific record is clear: certain lots of MPA, compounded by NECC in 2012, were

contaminated. Making the legal case of liability is simple, and presumably the Plaintiffs and

Tennessee Clinic Defendants have doctors standing in line to testify about the causal link


                                                    17
2320737.2
      Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 18 of 19




between MPA injections and harm to individuals. Yet, the STEs want to make discovery against

Ameridose, which will be costly, protracted and low yield. There is simply no legal or factual

basis for the cost given that there is no evidence that Ameridose compounded the MPA at issue.

Therefore this Court should issue an Order quashing the deposition notice served on Ameridose

LLC and forbidding the STEs from taking the deposition of Ameridose LLC.

                                               Respectfully submitted,

                                               /s/ Matthew P. Moriarty
                                               Matthew P. Moriarty (0028389)
                                               Richard A. Dean (0013165)
                                               TUCKER ELLIS LLP
                                               950 Main Avenue
                                               Suite 1100
                                               Cleveland, OH 44113-7213
                                               Telephone: 216.592.5000
                                               Facsimile:    216.592.5009
                                               E-mail:        richard.dean@tuckerellis.com
                                                              MMoriarty@tuckerellis.com

                                               Attorneys for Ameridose LLC




                                                 18
2320737.2
      Case 1:13-md-02419-RWZ Document 1880 Filed 05/22/15 Page 19 of 19




                                CERTIFICATE OF SERVICE

        I hereby certify that on May 22, 2015, a copy of the foregoing Defendant Ameridose

LLC’s Memorandum in Support of its Motion for Protective Order and Motion to Quash

the Deposition Notice to Ameridose LLC was filed electronically. Notice of this filing will be

sent to all parties by operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s system.



                                                 /s/ Matthew P. Moriarty
                                                 Matthew P. Moriarty (0028389)
                                                 Richard A. Dean (0013165)
                                                 Tucker Ellis LLP
                                                 950 Main Avenue
                                                 Suite 1100
                                                 Cleveland, OH 44113-7213
                                                 Tel:          216.592.5000
                                                 Fax:          216.592.5009
                                                 E-mail:        richard.dean@tuckerellis.com
                                                                MMoriarty@tuckerellis.com

                                                 Attorneys for Ameridose LLC




                                                  19
2320737.2
